            Case 2:21-cv-00157-SMJ                  ECF No. 23           filed 11/10/21    PageID.154 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                                  for thH_                                EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
                      THOMAS NOVAK,
                                                                                                              Nov 10, 2021
                                                                                                               SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:21-cv-00157-SMJ
                                                                     )
                     JOHN HERNANDEZ,                                 )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendant’s Motion to Dismiss for Lack of Jurisdiction (ECF No. 7) is GRANTED.
u
              Defendant’s Second Motion to Dismiss (ECF No. 20) is DENIED AS MOOT.
              Plaintiff’s claims against Defendant are DISMISSED WITHOUT PREJUDICE.
              Judgment is entered for Defendant.


This action was (check one):
u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                Salvador Mendoza, Jr.                                        on a
      Motion to Dismiss for Lack of Jurisdiction (ECF No. 7).


Date: 11/10/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lee Reams
                                                                                           %\ Deputy Clerk

                                                                             Lee Reams
